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12

13                                     UNITED STATES DISTRICT COURT

14                                  NORTHERN DISTRICT OF CALIFORNIA

15

16   ANGELA KENNARD, on behalf of herself, all            Case No. 3:21-cv-7211-WHO
     others similarly situated, and the general public,
17                                                        The Honorable William H. Orrick III
                                    Plaintiff,
18
                                                          NOTICE OF MOTION AND MOTION TO
            v.                                            DISMISS; MEMORANDUM OF POINTS &
19
                                                          AUTHORITIES
     KELLOGG SALES COMPANY,
20
                                    Defendant.            Hearing Date: January 19, 2022
21                                                        Hearing Time: 2:00 p.m.
22                                                        Location:     Remote

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 1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, on January 19, 2022 at 2:00 p.m., or as soon thereafter as the Court

 3   is available, Defendant Kellogg Sales Company will appear before the Honorable William H. Orrick III

 4   and will, and hereby does, move to dismiss Plaintiff Angela Kennard’s complaint pursuant to Federal Rule

 5   of Civil Procedure 12(b)(6) because it fails to state a plausible claim on which relief can be granted.

 6          Kellogg’s Motion is based on this Notice of Motion and Motion, the following Memorandum of

 7   Points and Authorities, any additional briefing on this subject (including Kellogg’s reply brief), and the

 8   evidence and arguments that will be presented to the Court at the hearing on this matter.

 9
10   DATED: November 16, 2021                       JENNER & BLOCK LLP

11
                                              By:               /s/   Dean N. Panos
12                                                                    Dean N. Panos

13                                                  Attorneys for Defendant
                                                    Kellogg Sales Company
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 1                                               INTRODUCTION

 2          Many consumers—for health, religious, environmental or other reasons—do not eat meat. To

 3   appeal to those consumers, Kellogg sells veggie burgers, as well as other meat substitutes like veggie dogs

 4   and “veggie chik’n,” under its Morningstar Farms brand. Although Kellogg sells a wide variety of meat

 5   substitutes under the Morningstar Farms brand, it consistently uses the term “veggie” (which is shorthand

 6   for “vegetarian”) to describe those products. By doing so, Kellogg signals to consumers that these products

 7   are meatless alternatives to well-known comfort foods like hamburgers, hot dogs, breakfast sausages, and

 8   chicken nuggets. Plaintiff does not claim that Kellogg’s Morningstar Farms products contain meat. Rather,

 9   Plaintiff claims that it is misleading to use the term “veggie” to describe Morningstar Farms meat
10   substitutes because those products are primarily made of “grain or oil” instead of “vegetables.” Plaintiff’s

11   theory of deception is implausible, and this Court should dismiss her lawsuit.

12          When used to describe a meat substitute, the term “veggie” connotes the absence of meat, not the

13   presence of vegetables. See “Veggie Burger,” WIKIPEDIA, available at https://bit.ly/3mJm2c2 (last visited

14   Nov. 16, 2021) (“A veggie burger is a burger patty that does not contain meat.”). Countless restaurants—

15   from vegetarian-focused restaurants like Veggie Grill to mainstream chains like the Cheesecake Factory—

16   sell “veggie burgers” that include a wide range of ingredients, including beans, mushrooms, and brown

17   rice. Indeed, there are thousands of recipes for veggie burgers that feature a limitless variety of plant-based

18   ingredients. It is accordingly implausible that a reasonable consumer would interpret the phrase “veggie

19   burger” to mean that a meat substitute—let alone a packaged, frozen product like Kellogg’s Morningstar
20   Farms products—consists primarily of vegetables as opposed to other plant-based ingredients.

21          What a reasonable consumer would believe is that Kellogg’s Morningstar Farms products do not

22   contain any meat—which is true. As the Ninth Circuit has made clear, a plaintiff cannot simply ignore the

23   “prevalent understanding” of a labeling term and rely instead on her own idiosyncratic, unreasonable

24   assumptions about the meaning of that term. Becerra v. Dr. Pepper/Seven Up, Inc., 945 F.3d 1225, 1230

25   (9th Cir. 2019) (“Becerra II”). Just as a reasonable consumer would not believe that “diet” soft drinks

26   promise weight loss or that soy milk comes from a cow, a reasonable consumer would not interpret the

27   term “veggie burger” to mean that a product consisted predominantly of vegetables.

28          Even assuming for argument’s sake that a reasonable consumer might interpret the term “veggie”

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 1   to mean that a meat substitute consists primarily of vegetables (which no reasonable consumer would do),

 2   that does not establish that Kellogg’s packaging is affirmatively misleading. At most, it establishes that

 3   the term “veggie” is ambiguous and susceptible of multiple interpretations. Here, however, the packaging

 4   dispels any purported ambiguity by clarifying that Kellogg’s Morningstar Farms products include more

 5   “grain and oil” than vegetables. Under similar circumstances, many courts have found that the absence of

 6   an affirmative misrepresentation, combined with clarifying language elsewhere on the packaging, defeats

 7   any plausible claim of deception. This Court should do the same here.

 8          Leaving aside these core flaws, Plaintiff’s claims suffer from many other defects. Although she

 9   attempts to hitch a claim under the UCL’s “unlawful” prong to alleged violations of two FDA labeling
10   regulations, that claim fails because Kellogg’s labeling does not violate either regulation. Her breach of

11   warranty claims fail—not only because Kellogg’s labeling does not warrant that the Morningstar Farms

12   product contain a certain amount of vegetables, but also because she has not plausibly alleged that those

13   products are unfit for consumption (as is required to state a claim for breach of the implied warranty of

14   merchantability). And while Plaintiff attempts to seek equitable relief on behalf of the putative class, she

15   cannot do so because she has not plausibly alleged that she lacks an adequate legal remedy, as is required

16   to seek equitable relief under California’s consumer protection statutes. See generally Sonner v. Premier

17   Nutrition Corp., 971 F.3d 834 (9th Cir. 2020). Plaintiff’s claims are fatally flawed, and this Court should

18   dismiss her lawsuit with prejudice.

19                                               BACKGROUND
20          Kellogg sells vegetarian meat substitutes—including veggie burgers, veggie dogs, veggie sausage

21   patties, and the like—under its Morningstar Farms brand. Those products, which do not contain meat, are

22   sold in packaging that uses the term “veggie” to modify the name of the product (e.g., “veggie dogs”):

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15   Compl. ¶ 14. The packaging also lists all ingredients in order of predominance, as required by the FDA:

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27   Id. ¶ 15.
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 1          According to Plaintiff, “reasonable consumers understand and expect that products marketed as

 2   ‘veggie’ are made from vegetables, rather than beans or other legumes, grains, tofu, oil, or anything else.”1
 3   Id. ¶ 12. Relying on that allegation, Plaintiff claims that Kellogg’s use of the term “veggie” on its

 4   Morningstar Farms products is misleading—not because those products contain meat (which they do not),

 5   but because they are primarily made with “grain or oil” as opposed to vegetables. Id. ¶¶ 15–16. Plaintiff

 6   also alleges that the labeling of the Morningstar Farms products violates a handful of FDA regulations that

 7   govern the naming of foods, including 21 C.F.R. § 101.18 and 21 C.F.R. § 102.5. See Compl. ¶¶ 19–20.

 8          Based on these allegations, Plaintiff asserts claims under the Unfair Competition Law, Cal. Bus. &

 9   Prof. Code §§ 17200 et seq., the False Advertising Law, Cal. Bus. & Prof. Code §§ 17500 et seq., and the
10   Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750 et seq., as well as claims for breach of express

11   warranty and breach of the implied warranty of merchantability. See Compl. ¶¶ 41–86. Plaintiff asserts

12   these claims on behalf of herself and a putative class of California consumers. See id. ¶ 32. Plaintiff seeks

13   a variety of legal and equitable remedies on behalf of the putative class, including damages, restitution,

14   and injunctive relief. See id. ¶ 87 (Prayer for Relief).

15                                                  ARGUMENT

16          “To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as

17   true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

18   (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Facts indicating the “mere possibility of

19   misconduct” fall short of meeting this plausibility standard. Iqbal, 556 U.S. at 679 (emphasis added).
20   Rather, the plaintiff must “allege more by way of factual content to ‘nudg[e]’ his claim” of unlawful action

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22   1
       Notably, the only source Plaintiff cites for this allegation is the Merriam-Webster Online Dictionary,
     which defines the term “veggie burger” to mean “a patty chiefly of vegetable-derived protein used as a
23
     meat substitute”—not a patty made primarily of vegetables. See id. ¶ 12 n.1. Plaintiff fails to mention that
24   the same dictionary defines the term “veggie” to mean either “vegetable” or “vegetarian” (i.e., free of
     meat). See “Veggie”, MERRIAM-WEBSTER ONLINE DICTIONARY, available at https://bit.ly/3vJM0yN (last
25   visited Nov. 16, 2021). And in any event, many other dictionaries specifically differentiate veggie burgers
     from those made with meat. See, e.g., “Veggie Burger,” OXFORD ENGLISH DICTIONARY, available at
26   https://bit.ly/3pCa3P7 (last visited Nov. 16, 2021) (defining a “veggie burger” as a “flat savoury cake or
27   patty resembling a hamburger but made with vegetable protein, soya, etc. rather than meat”); “Veggie
     Burger,” CAMBRIDGE DICTIONARY, available at https://bit.ly/3o1jQMs (last visited Nov. 16, 2021)
28   (defining a “veggie burger” as “a type of food similar to a hamburger but made without meat, by pressing
     together small pieces of vegetables, seeds, etc. into a flat, round shape”).
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 1   “across the line from conceivable to plausible.” Id. at 683 (quoting Twombly, 550 U.S. at 570).

 2          “Determining whether a complaint states a plausible claim for relief is ‘a context-specific task that

 3   requires the reviewing court to draw on its judicial experience and common sense.’” Becerra II, 945 F.3d

 4   at 1228 (quoting Iqbal, 556 U.S. at 679) (emphasis added). In light of that guidance, courts have regularly

 5   dismissed lawsuits where common sense belies the allegations in the complaint. See, e.g., Stuart v.

 6   Cadbury Adams USA, LLC, 458 F. App’x 689, 690–91 (9th Cir. 2011) (affirming dismissal of false

 7   advertising lawsuit that “def[ied] common sense”); Videtto v. Kellogg USA, No. 08-1324, 2009 WL

 8   1439086, at *4 (E.D. Cal. May 21, 2009) (dismissing false advertising lawsuit without leave to amend

 9   where the plaintiff’s allegations would require the court to “ignore . . . common sense”).
10   I.     Plaintiff Has Not Plausibly Alleged That the Term “Veggie” Is Deceptive or Misleading.

11          Because Plaintiff’s claims are premised on allegedly “deceptive or misleading marketing,” she must

12   “demonstrate that a ‘reasonable consumer’ is likely to be misled by the representation.” Moore v. Trader

13   Joe’s Co., 4 F.4th 874, 881 (9th Cir. 2021). To satisfy that “reasonable consumer” standard, Plaintiff must

14   “show that members of the public are likely to be deceived” by Kellogg’s labeling. Becerra II, 945 F.3d

15   at 1228 (citation omitted) (emphasis added). This “requires more than a mere possibility that [the] label

16   ‘might conceivably be misunderstood by some few consumers viewing it in an unreasonable manner.’” Id.

17   (quoting Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496 (2003)). Notably, the standard is not that

18   of a “least sophisticated consumer” or an “unwary consumer.” Hill v. Roll Int’l Corp., 195 Cal. App. 4th

19   1295, 1304 (2011) (citation and emphasis omitted). “Rather, the reasonable consumer standard requires a
20   probability that a significant portion of the general consuming public or of targeted consumers, acting

21   reasonably in the circumstances, could be misled.” Becerra II, 945 F.3d at 1228–29 (emphasis added)

22   (citation and internal quotation marks omitted). Plaintiff’s allegations do not satisfy this standard.

23          A.      The term “veggie” refers to the absence of meat, not the presence of vegetables.

24          Plaintiff’s theory of deception is premised on her allegation that “reasonable consumers understand

25   and expect that products marketed as ‘veggie’ are made from vegetables, rather than beans or other

26   legumes, grains, tofu, oil, or anything else.” Compl. ¶ 12. But this allegation is entirely implausible, as

27   reasonable consumers understand terms like “veggie burger,” “veggie dog,” or “veggie patty” to mean that

28   the products are made with plant-based ingredients and not just “vegetables.” See generally Sensible

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 1   Foods, LLC v. World Gourmet, Inc., No. 11-2819, 2012 WL 566304, at *6 (N.D. Cal. Feb. 21, 2012) (“It

 2   is simply implausible—indeed, it strains the boundaries of the English language—to say that products

 3   made primarily from potatoes are not made of ‘veggies.’”). That interpretation is consistent with the

 4   prevalent usage of the term “veggie,” as well as dictionary definitions of the term “veggie burger.” See

 5   supra at 4 n.1. And it is also consistent with the fact that “veggie” products are meat substitutes designed

 6   to appeal to the segment of consumers who, for one reason or another, do not eat meat. Put simply, the

 7   term “veggie” connotes the absence of meat, not the presence of vegetables.

 8          As the Ninth Circuit has made clear, Plaintiff cannot simply ignore the “prevalent understanding”

 9   of the term “veggie” in this context and seek to hold Kellogg liable based on her own idiosyncratic and
10   implausible understanding of that word. Becerra II, 945 F.3d at 1230; see also Hairston v. S. Beach Bev.

11   Co., No. 12-1429, 2012 WL 1893818, at *4 (C.D. Cal. May 18, 2012) (“Plaintiff’s selective interpretation

12   of individual words or phrases from a product’s labeling cannot support a CLRA, FAL, or UCL claim.”).

13   Court after court has applied that common-sense principle to dismiss similar lawsuits premised on a

14   consumer’s unreasonable interpretation of a labeling statement.

15          Becerra is particularly instructive. There, the plaintiff—represented by Plaintiff’s counsel here—

16   alleged that the term “diet,” as used on the labeling of Diet Dr. Pepper, was misleading because “the term

17   ‘diet’ communicates weight loss or weight management.” Becerra v. Dr. Pepper Seven/Up, Inc., No. 17-

18   5921, 2018 WL 3995832, at *1 (N.D. Cal. Aug. 21, 2018) (Orrick, J.) (“Becerra I”). This Court dismissed

19   her lawsuit, holding that it was “not likely that a reasonable consumer would interpret ‘diet’ in the manner
20   Becerra suggests.” Id. at *4. Although the plaintiff relied on dictionary definitions of “diet” and purported

21   survey findings to allege that consumers associated the term “diet” with weight loss, this Court rejected

22   those arguments. See id. As the Court explained, “it is not plausible that reasonable consumers would

23   look at ‘Diet Dr. Pepper’ as associated with weight loss, separate and apart from the specific context of the

24   product.” Id. “Instead, consumers would view that Diet Dr. Pepper is a ‘diet’ product relative to regular

25   Dr. Pepper.” Id. (citation and internal quotation marks omitted).

26          The Ninth Circuit affirmed. Like this Court, the Ninth Circuit agreed that the term “diet” is a

27   “relative claim about the calorie content of that soft drink compared to the same brand’s ‘regular’ (full-

28   caloric) option,” such that “no reasonable consumer would assume that Diet Dr. Pepper’s use of the term

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 1   ‘diet’ promises weight loss or management.” Becerra II, 945 F.3d at 1228. The court specifically rejected

 2   the plaintiff’s argument that, “regardless of the common understanding of the word, dismissal was still

 3   improper because she alleged a plausible misunderstanding of the word.” Id. The court emphasized that

 4   it had “previously affirmed dismissal of claims based on similar unreasonable assumptions,” and it held

 5   that the possibility that “some consumers may unreasonably interpret the term differently does not render

 6   the use of ‘diet’ in a soda’s brand name false or deceptive.” Id. at 1229–30.

 7          Similarly, in Gitson v. Trader Joe’s Co., the plaintiffs claimed that the term “soymilk” was

 8   misleading because “people might mistake soymilk for actual milk from a cow.” No. 13-1333, 2015 WL

 9   9121232, at *1 (N.D. Cal. Dec. 1, 2015). The court concluded that the plaintiffs had “not articulated a
10   plausible explanation for how ‘soymilk’ is misleading,” as a “reasonable consumer (indeed, even the least

11   sophisticated consumer) does not think soymilk comes from a cow.”2 Id. “To the contrary,” the court
12   explained,” “people drink soymilk in lieu of cow’s milk.” Id.; see also Ang v. Whitewave Foods Co., No.

13   13-1953, 2013 WL 6492353, at *4 (N.D. Cal. Dec. 10, 2013) (“[I]t is simply implausible that a reasonable

14   consumer would mistake a product like soymilk or almond milk with dairy milk from a cow.”).

15          Just as no reasonable consumer would believe that “diet” soda promotes weight loss or that soy

16   milk comes from cows, no reasonable consumer would interpret the term “veggie,” as used to describe a

17   frozen, packaged meat substitute, to imply the exclusion of “beans or other legumes, grains, tofu, [or] oil.”

18   Compl. ¶ 12. Rather, a reasonable consumer would conclude that a “veggie” product was free of meat and

19   was designed to substitute for familiar meat-based foods like hamburgers, hot dogs, and chicken nuggets.
20   Indeed, the labeling of Kellogg’s Morningstar Farms products—which uses phrases like “wake up and

21   smell the veggie protein” to describe veggie bacon strips, “heat, bun, done” to describe veggie burgers, and

22   “frankly delicious” to describe veggie dogs—plainly attempts to highlight the analogy between Kellogg’s

23   vegetarian meat substitutes and their meat-based counterparts, rather than their specific ingredients.

24          Consistent with that labeling, the challenged products are free of meat (i.e., “veggie”-tarian) and

25   are comprised primarily of plant-based ingredients. It is accordingly not deceptive for Kellogg to describe

26
     2
       Notably, the Ninth Circuit specifically cited this holding in Moore to highlight the “sheer implausibility
27
     of Plaintiffs’ alleged interpretation” of the challenged labeling and to emphasize that “a consumer of any
28   level of sophistication could not reasonably interpret [the challenged] label as Plaintiffs assert.” Moore, 4
     F. 4th at 884 (citing Gitson, 2015 WL 9121232, at *1).
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 1   them as “veggie” products, and the fact that Plaintiff “unreasonably assumed” that Kellogg’s products were

 2   comprised primarily of vegetables, as opposed to grains or oils, “does not make it so.” Cheslow v.

 3   Ghirardelli Chocolate Co., 445 F. Supp. 3d 8, 17 (N.D. Cal. 2020) (relying on Becerra II to dismiss lawsuit

 4   alleging that consumers equated “white chips” with white chocolate); see Becerra II, 945 F.3d at 1229–30.

 5          B.       The term “veggie” is not a reference to a product’s “primary ingredient.”

 6          Plaintiff attempts to sidestep this argument by alleging that “[c]onsumers understand ingredient
 7   call-outs in product names for meat-alternatives to comprise the product’s primary ingredient,” such that
 8   “consumers understand a product marketed as a ‘bean-burger’ to be made primarily from beans, and a
 9   ‘tofurkey’ dog to be made primarily from tofu.” Compl. ¶ 11. But this allegation is entirely implausible—
10   as evidenced by Plaintiff’s failure to cite any source that supports her unreasonable interpretation of this
11   term. To the contrary, well-accepted authorities (including leading dictionaries and Wikipedia) make clear
12   that the absence of meat is the defining characteristic of a “veggie” (i.e., vegetarian) product. See supra at
13   1 & 4 n.1. In some cases, a manufacturer may highlight the presence of specific plant-based ingredients
14   by using terms like “bean burger” or “tofurkey dog.” But that does not change the fact that the term
15   “veggie” refers broadly to all plant-based meat substitutes, rather than those made primarily of
16   “vegetables.”
17          Indeed, common sense—which this Court must apply in ruling on a motion to dismiss—belies
18   Plaintiff’s categorical allegation that consumers understand “ingredient call-outs” to refer to a product’s
19   “primary ingredient.” In some instances, a reasonable consumer may understand an “ingredient call-out”
20   to mean that the ingredient is present in the product, but not necessarily that it is the primary ingredient.3
21   In other cases, a consumer would not understand the labeling to include the highlighted “ingredient” at all.
22   See, e.g., Sugarawa v. Pepsico, Inc., No. 08-1335, 2009 WL 1439115, at *3 (E.D. Cal. May 21, 2009)
23

24   3
       Indeed, multiple courts have applied this reasoning in dismissing lawsuits premised on similar “veggie”
25   representations. See, e.g., Solak v. Hain Celestial Group, Inc., No. 17-704, 2018 WL 1870474, at *3
     (N.D.N.Y Apr. 17, 2018) (dismissing lawsuit alleging that the term “veggie straws” was misleading and
26   holding that this product name “makes no claim as to the amount or proportion of ‘Veggie’ products
27   incorporated in the Straws”); Henderson v. Gruma Corp., No. 10-4173, 2011 WL 1362188, at *12 (C.D.
     Cal. Apr. 11, 2011) (dismissing lawsuit alleging that product was mislabeled as being made “with garden
28   vegetables” and holding that this “labeling statement does not claim a specific amount of vegetables in the
     product, but rather speaks to their presence in the product, which is not misleading”).
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 1   (dismissing lawsuit alleging that the term “crunch berries” implied the presence of fruit). Given that the

 2   term “veggie” has a well-established meaning in this context, it is implausible that a reasonable consumer

 3   would believe that the term “veggie” differentiated the product from one made with beans, tofu, or other

 4   plant-based ingredients. See generally Weiss v. Trader Joe’s Co., 838 F. App’x 302, 303 (9th Cir. 2021)

 5   (“[A] reasonable consumer does not check her common sense at the door of the store.”).

 6          Indeed, consistent with the common usage of the term “veggie” to describe vegetarian products,

 7   Kellogg uses that term to describe even those Morningstar Farms products that highlight the presence of

 8   legumes and other plant-based ingredients. For example, it uses the phrase “veggie burgers” on the labeling

 9   of its Spicy Black Bean Burgers and Mediterranean Chickpea Burgers. See “Burgers,” Morningstar Farms,
10   available at https://bit.ly/3km7oFV (last visited Nov. 16, 2021). It similarly labels its Chipotle Black Bean

11   Crumbles as a “veggie meal starter.”           See “Meal Starters,” Morningstar Farms, available at

12   https://bit.ly/2Ysnnum (last visited Nov. 16, 2021). Those products—which are sold on the very same

13   shelves as the Morningstar Farms products Plaintiff challenges in this lawsuit (see Compl. ¶ 13)—make

14   clear to consumers that Kellogg uses the term “veggie” to refer to meatless products generally, as opposed

15   to products made with “vegetables” in particular. This Court should reject Plaintiff’s implausible and

16   artificial distinction between “veggies” and other plant-based ingredients.

17   II.    The Packaging, Viewed as a Whole, Conclusively Dispels Any Alleged Deception.

18          Even assuming for argument’s sake that the term “veggie” suggested the presence of vegetables

19   when viewed in isolation, that would not render Plaintiff’s claims of deception plausible. As the Ninth
20   Circuit has repeatedly made clear, an advertisement is not deceptive if any “ambiguity” that the plaintiff

21   “would read into any particular statement is dispelled by the [advertisement] as a whole.” Freeman v.

22   Time, Inc., 68 F.3d 285, 290 (9th Cir. 1995); see also, e.g., Moore, 4 F.4th at 882 (affirming dismissal of

23   false advertising lawsuit and holding that claim was not plausible “as a matter of law” where “other

24   available information . . . would quickly dissuade a reasonable consumer” from her purported interpretation

25   of the labeling); Knowles v. Arris Int’l PLC, 847 F. App’x 512, 513 (9th Cir. 2021) (similar). Indeed, as

26   the Ninth Circuit recently explained, Freeman stands for the common-sense proposition that “product

27   packaging should be examined in its full context because it would be unreasonable to cherry-pick discrete

28   statements to prove deception.” Weiss, 838 F. App’x at 303.

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 1          Here, even assuming for argument’s sake that the term “veggie” might arguably be ambiguous as

 2   to the product’s ingredient content, the labeling resolves that ambiguity by stating all of the product’s

 3   ingredients in order of predominance, as required by the FDA. Compl. ¶ 15. Indeed, many courts have

 4   acknowledged that when a label contains no affirmative misrepresentations and the remainder of the

 5   packaging dispels any purported ambiguity, the labeling is not deceptive as a matter of law.

 6          Workman v. Plum, Inc., 141 F. Supp. 3d 1032 (N.D. Cal. 2015), is instructive. There, the plaintiff

 7   alleged that the defendant’s fruit purees were mislabeled because the packaging depicted images of certain

 8   ingredients—such as pumpkin, pomegranate, quinoa, and yogurt—even though the products primarily

 9   consisted of apple, banana, or pear puree. Id. at 1034-35. The court dismissed this claim, reasoning that
10   “the labels contain no affirmative misrepresentations and that all of the items pictured are actually present

11   in the product.” Id. at 1035. Although the plaintiff asserted that the packaging misled consumers into

12   believing that the highlighted ingredients were the most predominant ingredients in the product, the court

13   rejected this argument and emphasized that “a reasonable consumer would not simply view pictures on the

14   packaging of a puree pouch or box of fruit bars and assume that the size of the items pictured directly

15   correlated with their predominance in the blend.” Id. Even if the label was arguably ambiguous as to the

16   ingredients in each product, the court explained, “any potential ambiguity could be resolved by the back

17   panel of the products, which listed all ingredients in order of predominance, as required by the FDA.” Id.

18          Many other courts throughout the Ninth Circuit have adopted this precise reasoning in dismissing

19   lawsuits premised on arguably ambiguous labeling claims. For example, in Culver v. Unilever United
20   States, Inc., the court dismissed a lawsuit alleging that the labeling of Maille Dijon mustard—which

21   included the phrases “Paris,” “Depuis 1747,” and “Que Maille”—falsely implied that the mustard was

22   made in France, even though it was actually made in Canada. No. 19-9263, 2021 WL 2943937, at *1 (C.D.

23   Cal. June 14, 2021). As the court explained, “the allegedly misleading words do not by themselves actually

24   indicate the country where the Products are manufactured,” and it noted that “the translation of the French

25   words into English does not suggest the place of manufacture.” Id. at *8. “Thus,” the court reasoned, “the

26   pleadings do not delineate a basis, other than unfounded supposition, for a consumer to believe that the

27   Products were made in France.” Id. The court accordingly concluded that the use of “French words” on

28   the packaging was “not enough to make the labels so misleading that a reasonable consumer—who had a

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 1   question as to the country of origin of the Products—would not be expected to look at the full packaging

 2   for the answer, which was clearly and correctly provided on the rear label.” Id. at *9.

 3          Similarly, in McGinity v. Procter & Gamble Co., the court dismissed a lawsuit alleging that the

 4   labeling of Pantene Pro-V “Nature Fusion” shampoo, which included an image of an avocado next to a

 5   green leaf, falsely implied that the shampoo was “absent of any synthetic and non-natural ingredients.”

 6   No. 20-8164, 2021 WL 3886048, at *1 (N.D. Cal. Aug. 31, 2021). In so holding, the court explained that

 7   “P&G makes no claim as to what ingredients are not included, or the amounts of certain ingredients

 8   included, in its products by using the words ‘Nature Fusion’ and the accompanying image of an avocado

 9   on a green leaf.” Id. at *2. The court also noted that “P&G’s ingredients list included on the back of its
10   packaging confirms that the products contain both natural and synthetic ingredients.” Id. at *3. “Thus,”

11   the court explained, the plaintiff had “not sufficiently alleged how a reasonable consumer would be

12   deceived into believing that the products did not contain any synthetic ingredients given the express

13   inclusion of such ingredients on the product[] packaging.” Id.

14          And in Red v. Kraft Foods, Inc., the court dismissed a claim—brought by one of Plaintiff’s

15   attorneys here—alleging that the labeling of Vegetable Thins crackers was misleading because it “boasts

16   that the crackers are made with real vegetables and depicts vegetables,” which purportedly created the false

17   impression that the product “contains a significant amount of vegetables.” No. 10-1028, 2012 WL

18   5504011, at *3 (C.D. Cal. Oct. 25, 2012) (citation and internal quotation marks omitted). In so holding,

19   the court concluded that it “strains credulity to imagine that a reasonable consumer will be deceived into
20   thinking that a box of crackers . . . contains huge amounts of vegetables simply because there are pictures

21   of vegetables and the true phrase ‘Made with Real Vegetables’ on the box.” Id. at *4. In so holding, the

22   court rejected the plaintiffs’ suggestion that the vegetable-themed representations amounted to affirmative

23   misrepresentations, and it emphasized that a reasonable consumer would not “read a true statement on a

24   package and . . . assume things about the products other than what the statement actually says.” Id. at *3.

25          That reasoning applies with equal force here. The packaging of Kellogg’s Morningstar Farms

26   products does not state that the products are made with a certain amount of vegetables. Although the

27   labeling includes phrases designed to emphasize the presence of plant-based ingredients (such as “veggie”

28   and “the power of plants,” see Compl. ¶ 13), it does not specify which plant-based ingredients each product

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 1   contains. If a consumer nonetheless wanted to know which plant-based ingredients the product contained,

 2   he or she could look at the back of the package, which accurately states which ingredients each product

 3   includes. Absent any affirmative misrepresentation as to the amount or type of vegetables present in the

 4   product, Plaintiff has not stated a plausible claim of deception.

 5          Plaintiff will likely rely on the Ninth Circuit’s opinion in Williams v. Gerber Products Co., 552

 6   F.3d 934 (9th Cir. 2008), to argue that Kellogg cannot use the ingredient list to correct a misleading claim

 7   on the front of the package. But in contrast to Williams, where the packaging prominently displayed fruits

 8   that were not present in the product, the front labels of Kellogg’s Morningstar Farms products include no

 9   representations whatsoever regarding the specific plant-based ingredients present in each product. That
10   fact alone renders Williams distinguishable. See, e.g., Manchouck v. Mondelēz Int’l, Inc., No. 13-2148,

11   2013 WL 5400285, at *3 (N.D. Cal. Sept. 26, 2013) (distinguishing Williams on the basis that the labeling

12   “contained pictures of different fruits not actually contained in the product”). As other courts have made

13   clear, it is not misleading to highlight the presence of vegetables—or even specific vegetables—if those

14   vegetables appear in the product. See Red, 2012 WL 5504011, at *3-4; Solak, 2018 WL 1870474, at *3

15   (dismissing lawsuit alleging that the phrase “Garden Veggie Straws” and images of fresh vegetables falsely

16   exaggerated the product’s vegetable content and noting that the labeling of Garden Veggie Straws

17   “truthfully captures the fact that Defendant uses vegetable-based products in the Straws’ recipe”).

18          Moreover, as the Ninth Circuit has made clear, Williams stands for the narrow and uncontroversial

19   proposition that “if the defendant commits an act of deception, the presence of fine print revealing the truth
20   is insufficient to dispel that deception.” Ebner v. Fresh, Inc., 838 F.3d 958, 966 (9th Cir. 2016) (emphasis

21   in original). But where, as here, there is “no deceptive act to be dispelled” and the ingredient list “does not

22   contradict other representations or inferences on [the] packaging,” a manufacturer can use disclosures

23   elsewhere on the packaging—such as the FDA-mandated ingredient list—to eliminate any purported

24   ambiguity. Id.; see also, e.g., Gudgel v. Clorox Co., 514 F. Supp. 3d 1177, 1187 (N.D. Cal. 2021) (“[T]here

25   is no affirmative misrepresentation or deception on the product’s label. Without a deceptive act or

26   statement, Williams does not apply.”). Consistent with Ebner, many district courts in the Ninth Circuit

27   have limited Williams to cases involving affirmative misrepresentations and have declined to apply it to

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 1   cases where the packaging is only arguably ambiguous.4 Here too, because the labeling of the Morningstar
 2   Farms products contains no affirmative misrepresentations and truthfully discloses all ingredients present

 3   in the product, Plaintiff has not stated—and cannot state—a viable claim against Kellogg.

 4   III.   Plaintiff Has Not Plausibly Alleged That Kellogg Violated Any FDA Regulations.

 5          In addition to alleging that Kellogg’s use of the term “veggie” to describe its Morningstar Farms

 6   products is deceptive, Plaintiff also claims that it violates two FDA regulations—21 C.F.R. § 101.18(b)

 7   and 21 C.F.R. § 102.5(b)—that govern the naming of foods. See Compl. ¶¶ 19-20; see also id. ¶ 62 (relying

 8   on these alleged violations as a predicate for a claim under the UCL’s “unlawful” prong). But Plaintiff has

 9   not come close to articulating a violation of either regulation.
10          A.      Plaintiff has not alleged a plausible violation of 21 C.F.R. § 101.18(b).

11          The FDA regulations provide that the “labeling of a food which contains two or more ingredients

12   may be misleading by reason . . . of the designation of such food in such labeling by a name which includes

13   or suggests the name of one or more but not all ingredients, even though the names of all such ingredients

14   are stated elsewhere in the labeling.” 21 C.F.R. § 101.18(b). Plaintiff alleges that “Kellogg violates that

15   provision in that it designates the Products as ‘VEGGIE,’ i.e., vegetable” even though “they are primarily

16   composed of non-vegetable ingredients, like wheat gluten and oil.” Compl. ¶ 19. But courts have made

17   clear that a product’s name violates this regulation only when it “mislead[s] consumers into believing the

18   listed ingredients are the sole components of the [food].” Ackerman v. Coca-Cola Co., No. 09-395, 2010

19   WL 2925955, at *15 (E.D.N.Y. July 21, 2010); see also Gubala v. Allmax Nutrition, Inc., No. 14-9299,
20   2015 WL 6460086, at *6 (N.D. Ill. Oct. 26, 2015) (noting that 21 C.F.R. § 101.18 “require[s] that a food

21   not be labeled in such a way as to lead consumers to believe that it is made solely of one ingredient when

22   it is made of multiple ingredients”).

23

24   4
       See, e.g., Manchouck, 2013 WL 5400285, at *3 (distinguishing Williams and noting that the “plaintiff’s
25   complaint . . . does not concern an affirmative misrepresentation”); Workman, 141 F. Supp. 3d at 1037
     (“Here, in contrast to Williams, the packaging at issue contained no affirmative misrepresentation . . . .”);
26   Red, 2012 WL 5504011, at *4 (“[T]he instant case is distinguishable from Williams in that the case at bar
27   does not concern affirmative misrepresentation . . . .”); Romero v. Flowers Bakeries, LLC, No. 14-5189,
     2016 WL 469370, at *7 (N.D. Cal. Feb. 8, 2016) (“Here, as in Red and unlike in Williams, no affirmative
28   misrepresentation is alleged.”); Varela v. Walmart, Inc., No. 20-4448, 2021 WL 2172827, at *9 (C.D. Cal.
     May 25, 2021) (similar).
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 1          Here, the labeling—which describes the Morningstar Farms products as “veggie dogs,” “vegan

 2   patties,” and the like—makes abundantly clear that those products contain ingredients other than

 3   vegetables. See Compl. ¶ 14. And as courts have made clear, “[a] brand name that offers some indication

 4   of a product’s contents is not . . . necessarily required to list out every ingredient.” Lima v. Post Consumer

 5   Brands, LLC, No. 18-12100, 2019 WL 3802885, at *6 (D. Mass. Aug. 13, 2019) (dismissing claim that the

 6   name “Honey Bunches of Oats” violated 21 C.F.R. § 101.18(b)). Neither the term “veggie” nor any other

 7   aspect of the labeling suggests that vegetables are the sole ingredients in Kellogg’s Morningstar Farms

 8   products, and Plaintiff has accordingly not alleged a violation of 21 C.F.R. § 101.18. See, e.g., Gubala,

 9   2015 WL 6460086, at *6 (holding that statements such as “Decadent Chocolate Milkshake” on a protein
10   powder product “signal to consumers that the product they are purchasing is not made solely of the ultra-

11   premium protein blend, but contains other ingredients as well”); Coe v. Gen. Mills, Inc., No. 15-5112, 2016

12   WL 4208287, at *2 (N.D. Cal. Aug. 10, 2016) (dismissing claim that the name “Cheerios Protein” violated

13   21 C.F.R. § 101.18 “because it includes two ingredients, Cheerios and protein, but excludes sugar”).

14          B.      Plaintiff has not alleged a plausible violation of 21 C.F.R. § 102.5.

15          Plaintiff also alleges that the use of the term “veggie” violates 21 C.F.R. § 102.5, which “requires

16   that a food product’s name ‘include the percentage(s) of any characterizing ingredient(s) or component(s)

17   when the proportion of such ingredient(s) or component(s) in the food has a material bearing on price or

18   consumer acceptance or when the labeling or the appearance of the food may otherwise create an erroneous

19   impression that such ingredient(s) or component(s) is present in an amount greater than is actually the
20   case.’” Compl. ¶ 20 (quoting 21 C.F.R. § 102.5(b)). According to Plaintiff, this regulation bars Kellogg

21   from using the term “veggie” because that term “gives the erroneous impression that vegetables are present

22   in an amount greater than is actually the case.” Compl. ¶ 20. This theory, like Plaintiff’s core theory of

23   deception, falsely conflates the term “veggie” (which, as used in this context, serves to differentiate the

24   vegetarian products at issue from their meat-based counterparts) with “vegetables.”

25          By its own terms, 21 C.F.R. § 102.5 governs a product’s “common or usual name”—not other

26   representations on the labeling. As the regulation makes clear, the “common or usual name of a food,

27   which may be a coined term, shall accurately identify or describe, in as simple or direct terms as possible,

28   the basic nature of the food or its characterizing properties or ingredients.” 21 C.F.R. § 102.5(a); see also

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 1   Coe, 2016 WL 4208287, at *3 (“[T]he term ‘common or usual name’ is meant to refer to a generic

 2   descriptive term rather than a brand name.”). The FDA has also made clear that the “common or usual

 3   name of a food may be established by common usage.” 21 C.F.R. § 102.5(d). And while the product’s

 4   “common or usual name” must “offer[] some indication of a product’s content,” it is “not . . . necessarily

 5   required to list out every ingredient.” Lima, 2019 WL 3802885, at *7 (holding that honey was not a

 6   characterizing ingredient of Honey Bunches of Oats cereal “because honey is not a characterizing

 7   ingredient of cereals generally” and that “[t]he regulations therefore do not require Post to disclose the

 8   proportion of honey in Honey Bunches of Oats”); see also In re Quaker Oats Maple & Brown Sugar Instant

 9   Oatmeal Litig., No. 16-1442, 2018 WL 1616053, at *4 (C.D. Cal. Mar. 8, 2018) (holding that maple syrup
10   and maple sugar were not characterizing ingredients under 21 C.F.R. § 102.5 because “[t]he ‘basic nature’

11   of the Products is not maple syrup or maple sugar, but is instead instant oatmeal”).

12          Here too, Kellogg’s use of terms like “veggie burgers” and “veggie dogs” is entirely consistent with

13   21 C.F.R. § 102.5. As explained above, consumers commonly understand terms like “veggie burgers” and

14   “veggie dogs” to refer to vegetarian meat substitutes generally, rather than products made with any specific

15   amount or type of vegetables (or other plants). See supra § I. Because a “veggie burger” can consist of

16   vegetables, beans, tofu, or any other combination of vegetarian ingredients, the presence or amount of

17   specific plant-based ingredients does not affect the “basic nature of the food” and is therefore not

18   “characterizing.” 21 C.F.R. § 102.5(a). Thus, Plaintiff has not alleged a violation of 21 C.F.R. § 102.5.

19   IV.    Plaintiff Has Not Stated a Plausible Breach-of-Warranty Claim.
20          In addition to her claims under the UCL, FAL, and CLRA, Plaintiff also alleges claims for breach

21   of express warranty and breach of the implied warranty of merchantability. See Compl. ¶¶ 74–86. These

22   claims fare no better than her meritless consumer fraud claims.

23          A.      Plaintiff has not stated a plausible claim for breach of express warranty.

24          Under California law, an express warranty is an “affirmation of fact or promise made by the seller

25   to the buyer” that constitutes “part of the basis of the bargain.” Cal. Com. Code § 2313(1)(a). To state a

26   claim for breach of express warranty, Plaintiff “must allege the exact terms of the warranty, plaintiff’s

27   reasonable reliance thereon, and a breach of that warranty which proximately causes [P]laintiff injury.”

28   Williams v. Beechnut Nutrition Corp., 185 Cal. App. 3d 135, 142 (1986).

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 1          Here, Plaintiff alleges that, “[t]hrough use of the ‘VEGGIE’ statement on the Veggie Products’

 2   labels, Kellogg made affirmations of fact or promises, or descriptions of goods, that, inter alia, the Veggie

 3   Products’ predominant ingredient is vegetables, or at least vegetable-based.” Compl. ¶ 75. But as

 4   explained earlier, the packaging makes no specific representation as to the presence or amount of

 5   vegetables or any other plant-based ingredient, and the term “veggie” signals the absence of meat—not the

 6   presence of any specific plant-based ingredient, let alone a certain amount or type of vegetables. Because

 7   the term “veggie” truthfully conveys that the product is vegetarian and “accurately describes the product,”

 8   Plaintiff has not stated a claim for breach of express warranty. Viggiano v. Hansen Natural Corp., 944 F.

 9   Supp. 2d 877, 893-94 (C.D. Cal. 2013). And even if the term “veggie” might arguably suggest the presence
10   of vegetables, that is not sufficient to establish that it amounts to an express warranty—let alone to allege

11   the “exact terms” of that warranty. Williams, 185 Cal. App. 3d at 142; see also Turner v. Sony Interactive

12   Entm’t LLC, No. 21-2454, 2021 WL 5177733, at *1 (N.D. Cal. Nov. 8, 2021) (“In order to constitute an

13   express warranty, a statement must be ‘specific and unequivocal.’”) (quoting Maneely v. Gen. Motors

14   Corp., 108 F.3d 1176, 1181 (9th Cir. 1997)).

15          Moreover, to the extent Plaintiffs claims that the packaging of Kellogg’s Morningstar Farms

16   product amounts to an express warranty, it would necessarily incorporate the specific language in the

17   ingredient list as well. See generally Cal. Com. Code § 2317 (noting that express warranties must be

18   treated as “consistent with each other and as cumulative” and that “[e]xact or technical specifications . . .

19   displace general language of description”). Here, as explained above, the packaging of each product states
20   precisely which plant-based ingredients appear in each Morningstar Farms product. See supra § II.

21   Because that language clarifies precisely what ingredients each product does and does not contain, it

22   precludes Plaintiff from relying on the more general term “veggie” to establish an express warranty. See,

23   e.g., Viggiano, 944 F. Supp. 2d at 894 (dismissing breach of express warranty where the “packaging . . .

24   clearly identif[ies] the natural flavor found in each type of soda”); Chin v. Gen. Mills, Inc., No. 12-2150,

25   2013 WL 2420455, at *7 (D. Minn. June 3, 2013) (“General Mills cannot be in breach of an express

26   warranty by including an ingredient that it expressly informed consumers was included.”).

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 1          B.      Plaintiff has not stated a plausible claim for breach of implied warranty.

 2          Under California law, the implied warranty of merchantability “provides the consumer with only a
 3   minimum level of protection against product defects; it does not guarantee a perfect product.” Red v. Gen.
 4   Mills, Inc., No. 215-02232, 2015 WL 9484398, at *6 (C.D. Cal. Dec. 29, 2015) (emphasis added). This
 5   warranty is breached only where the product lacks “the most basic degree of fitness for ordinary use.”
 6   Birdsong v. Apple, Inc., 590 F.3d 955, 958 (9th Cir. 2009) (quoting Mocek v. Alfa Leisure, Inc., 114 Cal.
 7   App. 4th 402, 406 (2003)). Here, Plaintiff does not allege that the Morningstar Farms products are inedible
 8   or unfit for consumption; instead, she simply alleges that Kellogg breached its purported “representations
 9   . . . that the predominant ingredient in the Veggie Products is vegetables, or at least vegetable-based.”
10   Compl. ¶ 81. This Court should accordingly dismiss her breach of implied warranty claim. See, e.g.,
11   Bohac v. Gen. Mills, Inc., No. 12-5280, 2014 WL 1266848, at *10 (N.D. Cal. Mar. 26, 2014) (Orrick, J.)
12   (dismissing breach of implied warranty claim where the plaintiff did not allege that granola bars “were not
13   edible or contaminated”); Viggiano, 944 F. Supp. 2d at 896 (dismissing beach of implied warranty claim
14   where the plaintiff did “not allege any facts suggesting that the soda is not merchantable or fit for use as a
15   diet soft drink,” such as by alleging “that it was contaminated or contained foreign objects”).
16   V.     Plaintiff Has Not Plausibly Alleged Any Entitlement to Equitable Relief.
17          Finally, even if this Court does not dismiss Plaintiff’s lawsuit outright, it should nonetheless dismiss
18   her claims for restitution, an injunction, and other equitable relief.5 As the Ninth Circuit has made clear,
19   a plaintiff cannot seek equitable relief under California’s consumer protection statutes without establishing
20   that she lacks an adequate remedy at law. See Sonner, 971 F.3d at 844. Several of Plaintiff’s claims permit
21   her to recover money damages, and those damages would adequately compensate her for her alleged
22   injury—i.e., the supposed “price premium” she allegedly paid due to Kellogg’s use of the term “veggie”
23   on the labeling of its products. Sonner accordingly bars her from seeking equitable relief.
24          In Sonner, the plaintiff initially asserted claims for both restitution and damages, but later
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     5
27    At a minimum, this would require the dismissal of Plaintiff’s claim for restitution under the CLRA and
     her claims under the UCL and FAL, which only authorize equitable relief and do not permit recovery of
28   damages. See generally In re Vioxx Class Cases, 180 Cal. App. 4th 116, 130 (2009) (“The remedies
     available in a UCL or FAL action are limited to injunctive relief and restitution.”).
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 1   abandoned her damages claims in favor of her claims for equitable restitution. 971 F.3d at 838. The district

 2   court then dismissed the plaintiff’s remaining claims for restitution, holding that she had “failed to establish

 3   that she lacked an adequate legal remedy for the same past harm for which she sought equitable restitution.”

 4   Id. The Ninth Circuit affirmed. In so holding, the Ninth Circuit agreed that “the traditional principles

 5   governing equitable remedies in federal courts, including the requisite inadequacy of legal remedies, apply

 6   when a party requests restitution under the UCL and CLRA in a diversity action.” Id. at 844. And because

 7   the plaintiff had not alleged—let alone demonstrated—that she lacked an adequate legal remedy, the court

 8   held that she could not seek restitution. Id.

 9          Sonner squarely precludes Plaintiff’s claims for equitable relief. Like the plaintiff in Sonner,
10   Plaintiff alleges that she and other class members “overpaid for the Veggie Products” due to Kellogg’s use

11   of the term “veggie.” Compl. ¶ 26; see also id. ¶ 36 (alleging that Plaintiff and other class members

12   “suffered economic injury because they paid more for Veggie Products”). And like the plaintiff in Sonner,

13   Plaintiff asserts claims—including her claim under the CLRA and her breach-of-warranty claims—that

14   permit recovery of money damages. Because Plaintiff’s claims are premised on the money she allegedly

15   “lost” as a result of Kellogg’s conduct, and because she seeks damages as a remedy for that alleged injury,

16   she has an adequate remedy at law.

17          Courts throughout California have applied this precise reasoning in dismissing claims for restitution

18   under California’s consumer protection statutes. See, e.g., Gibson v. Jaguar Land Rover N. Am., LLC, No.

19   20-769, 2020 WL 5492990, at *3–4 (C.D. Cal. Sept. 9, 2020) (applying Sonner to dismiss claims for
20   equitable relief with prejudice where the plaintiffs alleged that they “would have been able to avoid

21   spending money” but for the defendant’s alleged misrepresentations); In re MacBook Keyboard Litig., No.

22   18-2813, 2020 WL 6047253, at *4 (N.D. Cal. Oct. 13, 2020) (applying Sonner to dismiss claims for

23   equitable relief with prejudice where the plaintiffs alleged that they “overpaid for their allegedly defective

24   laptops and incurred various expenses in their attempts to resolve the deficiencies”). And courts have

25   applied the same reasoning in dismissing claims for injunctive relief, as Sonner’s “broad analysis of the

26   distinction between law and equity” does not “create an exception for injunctions as opposed to other forms

27   of equitable relief.” Adams v. Cole Haan, LLC, No. 20-913, 2020 WL 5648605, at *2 (C.D. Cal. Sept. 3,

28   2020); see also MacBook Keyboard, 2020 WL 6047253, at *3 (“[U]nder Sonner, Plaintiffs are required to

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 1   allege that they lack an adequate remedy at law in order to seek injunctive relief.”).

 2          Plaintiff suggests that the “continued use of ‘VEGGIE’ on the Veggie Products’ labeling also

 3   threatens to repeatedly infringe upon the substantive right California’s consumer protection statutes give

 4   Plaintiff to be free from fraud in the marketplace” and that her “legal remedies are inadequate to prevent

 5   these future injuries.” Compl. ¶¶ 30-31. But in assessing the adequacy of legal remedies, the relevant

 6   question is not whether the remedy is sufficient to avert future conduct, but instead whether it is adequate

 7   to make the plaintiff whole. See Qualcomm Inc. v. Compal Elecs., Inc., 283 F. Supp. 3d 905, 917 (S.D.

 8   Cal. 2017) (holding that the plaintiff had “offered no persuasive rationale why the legal remedies available

 9   . . . will not be sufficient to make it whole” and that a plaintiff cannot obtain injunctive relief “merely by
10   pointing out that the Defendants’ breaches are ongoing”).

11          Huynh v. Quora, Inc. is illustrative. There, after her personal information was compromised in a

12   data breach, the plaintiff brought a claim under the UCL, as well as common-law claims for negligence,

13   breach of contract, and breach of confidence. 508 F. Supp. 3d 633, 640 (N.D. Cal. 2020). The court held

14   that the plaintiff could not seek injunctive relief, as she sought “a remedy at law through her negligence

15   claim, which [was] based on the same alleged conduct as her equitable claim.” Id. at 662. Although the

16   plaintiff sought an injunction “mandating that Defendant both (1) provide updated information about

17   exactly what was exposed and (2) institute industry-standard practices for protection of its users’ data,” the

18   court concluded that Sonner precluded injunctive relief, as “the potential harm caused by both actions may

19   be remedied by money damages.” Id.
20          Likewise, in Clark v. American Honda Motor Co., the plaintiffs brought a putative class action

21   based on alleged defects in several models of Acura vehicles. 528 F. Supp. 3d 1108, 1114–15 (C.D. Cal.

22   2021). While the court permitted some of the plaintiffs’ claims to go forward, it dismissed all of their

23   equitable claims—including their claim under the UCL and their request for restitution and equitable relief

24   under the CLRA because the plaintiffs had an adequate remedy at law. See id. at 1120–22. In so holding,

25   the court rejected the plaintiffs’ argument that Sonner did not apply because they sought “prospective

26   injunctive relief” on behalf of “future purchasers for whom damages cannot be an adequate substitute for

27   their plea for injunctive relief.” Id. at 1121. The court held that this fact “does not exempt this case from

28   Sonner, and none of its reasoning suggests that it is limited to claims for restitution for past harms and not

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 1   to purported future or ongoing harms.” Id. And while the plaintiffs argued that they were entitled to seek

 2   injunctive relief on behalf of “future purchasers,” the court found this argument “unavailing,” as “nothing

 3   suggests that damages will not be adequate for future purchasers simply because they have not purchased

 4   their vehicles yet.” Id. Once they do so, the court explained, “damages will be as adequate a remedy for

 5   them as it will be for currently-existing purchasers.” Id.

 6          That reasoning applies with equal force here. Plaintiff alleges that she and other class members

 7   lost money and paid an inflated price based on Kellogg’s use of the term “veggie” to describe its products.

 8   See Compl. ¶¶ 26, 36. If Plaintiff were to prevail on that claim (which she will not), the appropriate remedy

 9   would be money damages sufficient to compensate her for the money she allegedly “lost,” equal to the
10   “premium” she allegedly paid. Given the availability of money damages to remedy that purported injury,

11   there is no reason that Plaintiff requires injunctive relief to compensate her for injuries she (or any class

12   member) allegedly suffered.

13          In short, Plaintiff claims that she lost money due to Kellogg’s conduct, and she seeks money

14   damages sufficient to make her whole for that monetary injury. In light of those allegations, Plaintiff

15   cannot plausibly allege that she lacks an adequate remedy at law, and Sonner precludes her from seeking

16   restitution, an injunction, or other equitable remedies.

17                                                  CONCLUSION

18          This Court should dismiss Plaintiff’s complaint with prejudice and without leave to amend.

19
20   DATED: November 16, 2021                       JENNER & BLOCK LLP
21
                                              By:               /s/   Dean N. Panos
22                                                                    Dean N. Panos
23                                                  Attorneys for Defendant
24                                                  Kellogg Sales Company

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